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 8                       IN THE UNITED STATES DISTRICT COURT
 9                             FOR THE DISTRICT OF ARIZONA
10
11   David Barton,                                     No. CV-16-00655-PHX-GMS
12                        Plaintiff,                   ORDER
13   v.
14   Experian Information Solutions
     Incorporated, et al.,
15
                          Defendants.
16
17
18            The Court has been advised that Plaintiff and Defendant Experian Information

19   Solutions, Inc. have settled (Doc. 40).
20
              IT IS THEREFORE ORDERED that Defendant Experian Information
21
22   Solutions, Inc. will, without further Order of this Court, be dismissed with prejudice

23   within 60 days of the date of this Order unless a stipulation to dismiss is filed prior to the
24
     dismissal date.
25
     ///
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27   ///
28   ///
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 1         IT IS FURTHER ORDERED directing the Clerk of Court to terminate
 2
     Defendant Experian Information Solutions, Inc. on September 6, 2016 without further
 3
     leave of Court.
 4
 5         Dated this 6th day of July, 2016.
 6
 7                           Honorable G. Murray Snow
                             United States District Judge
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